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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
_________________________________________
                                          :
ERIC B. OBUGYEI,                          :
                                          :
            Plaintiff,                    :   Civ. No. 20-13958 (KM) (JBC)
                                          :
      v.                                  :
                                          :
THE STATE OF NEW JERSEY DEPARTMENT :          OPINION
OF CORRECTIONS, et al.,                   :
                                          :
            Defendants.                   :
_________________________________________ :


KEVIN MCNULTY, U.S.D.J.

       Plaintiff Eric Obugyei, a state prisoner, filed pro se with the Court a civil rights complaint.

(DE 1.) The Court previously administratively terminated the matter as Mr. Obugyei did not pay

the required filing fee or submit an in forma pauperis (“IFP”) application. (DE 3.) Mr. Obugyei

has since filed an IFP application. (DE 4.) However, the application will be denied without

prejudice at this time because it is incomplete.

       Generally, a complaint must include either a $400.00 fee (a $350.00 filing fee plus a $50.00

administrative fee) or an application to proceed in forma pauperis. 28 U.S.C. §§ 1914(a), 1915(a).

If a prisoner plaintiff is proceeding in forma pauperis, the $350.00 filing fee is still assessed, but

may be paid in installments as described below. 28 U.S.C. § 1915(b).

       A prisoner who seeks to proceed in forma pauperis must submit an affidavit, including a

statement of all assets, stating that the prisoner is unable to pay the applicable filing fee. See 28

U.S.C. § 1915(a)(1). The prisoner must also submit a certified copy of his inmate trust fund account

statement for the six-month period immediately preceding the filing of his complaint. See id.

§ 1915(a)(2). The prisoner must obtain this statement from the appropriate official of each prison
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at which he was or is confined. See id.; see also L. Civ. R. 81.2(b) (“Whenever a Federal, State, or

local prisoner submits a civil rights complaint, . . . the prisoner shall also submit an affidavit setting

forth information which establishes that the prisoner is unable to pay the fees and costs of the

proceedings and shall further submit a certification signed by an authorized officer of the

institution certifying (1) the amount presently on deposit in the prisoner’s prison account and, (2)

the greatest amount on deposit in the prisoner’s prison account during the six-month period prior

to the date of the certification.”).

        Even if a prisoner is granted in forma pauperis status, he must pay the full amount of the

filing fee of $350.00. See 28 U.S.C. § 1915(b)(1). In each month that the amount in the prisoner’s

account exceeds $10.00, the agency having custody of the prisoner shall assess, deduct from the

prisoner’s account, and forward to the Clerk of the Court, payment equal to 20% of the preceding

month’s income credited to the prisoner’s account. See id. § 1915(b)(2). The deductions will

continue until the $350.00 filing fee is paid.

        Even if the necessary fees are paid and the complaint is accepted for filing, the Court may

nevertheless immediately dismiss the case. The Court must review the complaint and dismiss it if

it finds that the action (1) is frivolous or malicious, (2) fails to state a claim upon which relief may

be granted, or (3) seeks monetary relief against a defendant who is immune from such relief. See

id. § 1915(e)(2)(B); see also id. § 1915A(b).

        If the plaintiff has, on three or more prior occasions while incarcerated, brought an action

or appeal in a court that was dismissed on any of the grounds listed above, he cannot bring another

action in forma pauperis unless he is in imminent danger of serious physical injury. See id. §

1915(g).




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       In this case, Mr. Obugyei’s IFP application does not include a six-month trust fund account

statement certified by a prison official. (See generally DE 4.) As a result, the application does not

substantially comply with the requirements of § 1915(a). Therefore, the application will be denied

without prejudice and the Clerk of the Court will be ordered to administratively close the case. Mr.

Obugyei may reopen this action, however, by either paying the filing fee or submitting a complete

in forma pauperis application.

                                                              /s/ Kevin McNulty

DATED: November 2, 2020                                       ______________________________
                                                              KEVIN MCNULTY
                                                              United States District Judge




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